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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                )
 7                                              )    No. CR-08-137-WFN-23
                        Plaintiff,              )
 8                                              )    ORDER GRANTING MOTION
       v.                                       )    TO MODIFY CONDITIONS OF
 9                                              )    RELEASE AND SETTING
       SHAWNA LYNN ANDERSON,                    )    STATUS CONFERENCE
10                                              )
                        Defendant.              )
11                                              )

12          At the February 12, 2009, hearing on Defendant’s Motion to

13    Modify, the United States was represented by Assistant U.S. Attorney

14    Russell Smoot; the Defendant was present with counsel Terry Ryan.

15          The court finds Defendant is in compliance with conditions of

16    release.

17          IT IS ORDERED:

18          1.    Defendant’s Motion to modify her conditions of release to

19    remove the electronic monitoring (Ct. Rec. 966) is GRANTED.                       All

20    other conditions of release shall remain.

21          2.    Any   changes    in   Defendant’s       work    hours   shall   be    by

22    permission of Pretrial Services.

23          3.    A status conference is set for March 25, 2009, at 1:30

24    p.m., before the undersigned.

25          DATED February 13, 2009.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28
      ORDER GRANTING MOTION TO MODIFY CONDITIONS
      OF RELEASE AND SETTING STATUS CONFERENCE - 1
